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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


KALOMA CARDWELL,

                         Plaintiff,

             v.
                                                         19 Civ. 10256 (GHW)
DAVIS POLK & WARDWELL LLP, THOMAS
REID, JOHN BICK, WILLIAM CHUDD, SOPHIA
HUDSON, HAROLD BIRNBAUM, DANIEL
BRASS, BRIAN WOLFE, and JOHN BUTLER,

                         Defendants.




                     DEFENDANTS’ MEMORANDUM OF LAW
              IN SUPPORT OF THEIR MOTION FOR FEES AND COSTS




                              PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
                              1285 Avenue of the Americas
                              New York, NY 10019–6064
                              Tel.: (212) 373–3000
                              Fax: (212) 757–3990

                              Attorneys for Defendants


Dated: August 11, 2020
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               Pursuant to this Court’s July 28, 2020 order, Defendants respectfully submit this

memorandum of law in support of their motion for fees and costs incurred as a result of

noncompliance by plaintiff’s counsel with the Court’s December 20, 2019 Civil Case Management

Plan and Scheduling Order (the “CMP,” ECF 27).

               In the July 28 order, this Court directed plaintiff’s counsel, David Jeffries, to “pay

defendants’ attorney’s fees and costs associated with plaintiff’s failure to comply with the

deadlines in the CMP.” July 28, 2020 Tr. (“Tr.”) at 12. The Court found that the “fees and

expenses payable include any fees and costs associated with the briefing of” plaintiff’s motion to

serve delinquent discovery, ECF 61, and “fees and costs associated with the negotiations that the

parties engaged in before they filed their joint letter about the issue with the Court,” ECF 57. Tr.

at 12–13; 25 (limiting application to “reasonable attorney’s fees and costs”). The Court ordered

that these “fees and expenses be paid by counsel for plaintiff alone.” Id. at 13.

               The “‘starting point’” for determining “‘reasonable fee[s]’” is “‘the number of

hours reasonably expended on the litigation’” or issue “‘multiplied by a reasonable hourly rate.’”

See Arbor Hill Concerned Citizens Neighborhood Ass’n v. County of Albany, 522 F.3d 182, 186

(2d Cir. 2007) (quoting Hensley v. Eckerhart, 461 U.S. 424, 433 (1983)). A “reasonable hourly

rate,” in turn, is “the rate a paying client would be willing to pay,” taking into account, “among

others,” (i) “the time and labor required,” (ii) “the amount involved in the case and the results

obtained,” and (iii) “the experience, reputation, and ability of the attorneys.” Arbor Hill, 522 F.3d

at 190, 187 n. 3 (listing factors). Courts in the Second Circuit look to “prevailing market rates in

the relevant community”—here, the Southern District, Pichardo v. C.R. Bard, 2015 WL

13784565, at *4, 5 (S.D.N.Y. Jan. 26, 2015)—for “‘similar services by lawyers of reasonably




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comparable skill, experience, and reputation.’” Restivo v. Hessemann, 846 F.3d 547, 590 (2d Cir.

2017) (quoting Gierlinger v. Gleason, 160 F.3d 858, 882 (2d Cir. 1998)).

                Defendants incurred “fees . . . associated with the briefing of” plaintiff’s motion to

serve delinquent discovery, Tr. at 13, including fees for legal research, analysis, drafting, and filing

of defendants’ responsive brief.        Defendants also incurred “fees . . . associated with the

negotiations that the parties engaged in before they filed their joint letter about the issue with the

Court[,]” Tr. at 13, in connection with (i) multiple written exchanges relating to plaintiff’s

counsel’s failure to abide the CMP, (ii) two meet-and-confer calls prior to seeking judicial

intervention, as encouraged by this Court’s individual rules, (iii) drafting of a joint letter to the

Court, and (iv) attendance at a Court-ordered conference.

               The senior partner who took the lead in addressing plaintiff’s discovery failures

(Bruce Birenboim), together with the senior and junior associates who assisted, collectively spent

more than 82 hours on these efforts. See Declaration of Susanna Buergel. Defendants also

incurred certain non-fee costs “associated with the briefing” and “negotiations” described above,

including filing and research database costs. Id.; Tr. at 13.

               While the case law would support a motion seeking reimbursement of all of the

fees and costs reasonably incurred in connection with plaintiff’s noncompliance, defendants

respectfully request that the Court enter an order providing for reimbursement of a substantially

smaller sum ($2500). Defendants seek substantially reduced fees and costs in recognition of

plaintiff’s counsel’s status as a solo practitioner, and in the hopes that even a modified assessment

will deter future noncompliance. Courts regularly grant modified fee awards of this kind against

solo practitioners and defendants suggest, based on precedent, that such an award would be

appropriate here. See Rogers v. Kroger Co., 586 F. Supp. 597, 601–03 (W.D. Tex. 1984) (reducing




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request for over $70,000 to $10,000 in recognition of, inter alia, plaintiff’s counsel’s status as a

solo practitioner); Pichardo, 2015 WL 13784565, at *7 (requiring plaintiff’s counsel, employed at

a small personal injury firm, to pay $10,000 in attorneys’ fees expended by large law firms to

respond to plaintiff’s counsel’s failure to comply with Rule 16 scheduling order).

               For these reasons, defendants respectfully request that this Court award fees and

costs in the amount of $2,500.

Dated: August 11, 2020
       New York, New York

                                  Respectfully Submitted,

                                  PAUL, WEISS, RIFKIND, WHARTON
                                   & GARRISON LLP


                                  By: /s/ Bruce Birenboim
                                      Bruce Birenboim
                                      Susanna M. Buergel
                                      Jeh C. Johnson
                                      Marissa C.M. Doran

                                  1285 Avenue of the Americas
                                  New York, New York 10019-6064
                                  Telephone: (212) 373-3784
                                  bbirenboim@paulweiss.com
                                  sbuergel@paulweiss.com
                                  jjohnson@paulweiss.com
                                  mdoran@paulweiss.com
                                  Attorneys for Defendants




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